                IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF IOWA
                       CEDAR RAPIDS DIVISION
 PARENTS DEFENDING
 EDUCATION,
                     Plaintiff,
 v.
                                                  Case No. ____________
 LINN-MAR COMMUNITY SCHOOL
 DISTRICT; SHANNON BISGARD, in
 his official capacity as Superintendent of
 Linn-Mar Community School District;
 BRITTANIA MOREY, CLARK
 WEAVER, BARRY BUCHOLZ,
 SONDRA NELSON, MATT
 ROLLINGER, MELISSA WALKER,
 and RACHEL WALL, in their official
 capacities as members of the Linn Marr
 Community School District School
 Board,
                     Defendants.


                         DECLARATION OF PARENT A

       1.    I live within the boundaries of the Linn-Mar Community School District

(“Linn-Mar”) and am the parent of a school-aged child.

       2.    I am over the age of eighteen and under no mental disability or

impairment. I have personal knowledge of the following facts and, if called as a witness,

would competently testify to them.

       3.    I am a member of Parents Defending Education.




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       4.     My child recently completed the sixth grade at a Linn-Mar elementary

school.

       5.     My child is on the autism spectrum and has a sensory processing disability.

As a result, my child has difficulty distinguishing between male characteristics and

female characteristics. Our family has devoted significant resources to therapy services

to help my child understand sex-specific differences. Still, my child sometimes makes

statements that could lead an outside observer to believe that my child is confused about

their gender identity or expressing a “gender-fluid” or “non-binary” identity.

       6.     As a parent, I am keenly aware of research showing that adolescents on

the autism spectrum are far more likely to assert a transgender or “non-binary” identity

than neurotypical adolescents. Research indicates that this statistical disparity is due, in

part, to the fact that children on the spectrum have difficulty processing sensory

perceptions and often fixate on an idea or feeling when they learn of it. In other words,

children on the autism spectrum are much more likely to believe that they are “born in

the wrong body” when they learn that this can happen.

       7.     I am also aware that several children on the autism spectrum at Linn-Mar

middle schools and Linn-Mar High School have recently asserted transgender or “non-

binary” identities.

       8.     Because my child has difficulty distinguishing between male characteristics

and female characteristics and often makes statements that are easily misinterpreted, I

am deeply concerned that my child will say something at school that will be interpreted

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as an assertion of a “gender fluid,” “non-binary,” or transgender identity by Linn-Mar

officials who do not know my child as well as I do. I believe there is a substantial risk

that my child will receive a Gender Support Plan or other gender-specific treatment

without my knowledge or consent if my child begins middle school at Linn-Mar this

August.

      9.     I want to ask the District on a regular basis whether my child has requested

or been given a Gender Support Plan, whether my child has made requests or actions

have been taken concerning my child’s gender identity, and whether the District has

any other information that would reveal my child’s “transgender status.” I want to

receive this information without seeking “permission” from my child. Policy 504.13-R,

however, prohibits school officials from revealing any of this information to me without

my child’s permission.

      10.    I also want to exercise my fundamental right as a parent to guide my child’s

upbringing and to help my child navigate any issues that might arise regarding their

perception of their gender identity. Under the Policy, however, I know that when these

issues arise, my role will be displaced by Linn-Mar administrators. The Policy requires

school officials to immediately accept and validate a child’s expression of gender

identity—regardless of their age or development—without questioning how the child

arrived at that conclusion.

      11.    Moreover, my child’s social development is far below those of

neurotypical children of the same age, so it is unlikely that my child will be able to

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understand the scope of this issue or effectively communicate their true preference.

Thus, if my child is assigned a Gender Support Plan or if Linn-Mar officials take other

steps to “affirm” that my child is transgender or “non-binary,” I am highly unlikely to

learn about those actions.

       12.    Since the Policy was enacted on April 25, I have repeatedly expressed my

concerns to Linn-Mar officials and requested confirmation that the school district will

not assign my child a Gender Support Plan or take any other gender identity-related

actions without informing me and obtaining my consent. Linn-Mar officials have

declined to provide those assurances.

       13.    To avoid the harms to my child caused by the Policy, I have decided to

withdraw my child from enrollment in the Linn-Mar middle school my child was

scheduled to attend. The existence and enforcement of the Policy was the primary

factor motivating my decision. If the Policy is rescinded or enjoined, I will enroll my

child in middle school at Linn-Mar the following year. If the Policy is not rescinded or

enjoined, I will not send my child to middle school at Linn-Mar.

       14.    I am signing this declaration under a pseudonym because I live in Linn-

Mar and, if my participation in this litigation becomes public, I fear reprisal from school

officials, my child’s teachers and fellow students, and members of the broader

community. I also want to protect the identity and privacy of my child concerning these

deeply sensitive issues.




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      Pursuant to 28 U.S.C. §1746, I declare under penalty of perjury that the foregoing

is true and correct to the best of my knowledge.


Executed this _____ day of ________, 2022



                                                     Parent A




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